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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
IC                                                    271 Cadman Plaza East
F. #2022R00580                                        Brooklyn, New York 11201



                                                      January 8, 2025

By E-mail and ECF

The Honorable Dora L. Irizarry
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Shlomo Patchiav
                       Criminal Docket No. 23-99 (DLI)

Dear Judge Irizarry:

               The parties respectfully submit this letter pursuant to the Court’s January 2, 2025
order to provide the Court with proposed dates for the continued suppression hearing previously
scheduled for January 9, 2025. The parties have conferred and the next available dates on which
the parties and witnesses are available for the hearing are February 12, 2025, February 13, 2025,
and February 14, 2025. Should the Court require additional proposed hearing dates, the parties
will confer and provide additional available dates in February and March of 2025.

                                                      Respectfully submitted,

                                                      BREON PEACE
                                                      United States Attorney

                                             By:       /s/ Irisa Chen
                                                      Irisa Chen
                                                      Assistant U.S. Attorney
                                                      (718) 254-6124


cc:    Clerk of Court (DLI) (by ECF)
       Counsel for the Defendant (by ECF)
